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                                UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
21

22    PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
      themselves and all others similarly situated,
23                                                    GOOGLE LLC’S ADMINISTRATIVE
             Plaintiffs,                              MOTION TO SEAL PORTIONS OF
24                                                    GOOGLE LLC’S OBJECTIONS TO
                                                      SPECIAL MASTER’S REPORT AND
             v.                                       RECOMMENDATION RE CALHOUN
25
                                                      MODIFIED PRESERVATION PLAN
26    GOOGLE LLC,                                     (DKTS. 665, 666)

27           Defendant.                               Judge: Hon. Susan van Keulen, USMJ

28
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 1    I.    INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5, Defendant Google LLC (“Google”)
 3 respectfully seeks to seal certain portions of Google’s Objections to Special Master’s Report and

 4 Recommendation Regarding Calhoun Modified Preservation Plan (Dkts. 665, 666) and Declaration

 5 of Patrick Quaid (“Google’s Objections”), which contain non-public, highly sensitive and

 6 confidential business information that could affect Google’s competitive standing and may expose

 7 Google to increased security risks if publicly disclosed, including various types of internal databases

 8 and their proprietary functionalities, data size, as well as internal metrics. This information is highly

 9 confidential and should be protected. The Court previously granted Google’s motions to seal the

10 same or substantively similar information it seeks to seal now, including in Dkt. Nos. 124, 139, 154,

11 156, 198, 204, 205, 224, 258, 260, 310, 323, 326, 327, 376, 386, 405, 455, 615, 645.

12          This Administrative Motion pertains to the following information contained in Google’s
13 Objections:

14     Document                    Portions to be Filed Under Seal                    Party Claiming
                                                                                      Confidentiality
15     Google’s Objections to      Portions Highlighted in Yellow at:                 Google
16     Special Master’s Report
       and Recommendation          Pages: 2:12-15, 2:19-20, 2:22-27, 3:1-2, 3:7-
17     Regarding Calhoun           14, 3:16-17, 3:19-20, 3:22-23, 3:26-27, 4:2-7,
       Modified Preservation       4:9-11, 4:17-20, 4:27-28, 5:1-5, 5:7, 5:23-28,
18     Plan (Dkts. 665, 666)       6:1, 6:3-4, 6:7, 6:9, 6:14-18. 6:20, 6:22, 7:1,
                                   7:20-21, 7:23-24, 7:27.
19

20
       Declaration of Patrick      Portions Highlighted in Yellow at:                 Google
21     Quaid
                                   Pages: 1:11, 1:13, 1:15, 1:19-20, 1:25, 2:5-6.
22                                 2:9, 2:14-20, 2:22-28, 3:3-6, 3:9-12.
23
     II.    LEGAL STANDARD
24

25          A party seeking to seal material must “establish[] that the document, or portions thereof, are

26 privileged, protectable as a trade secret or otherwise entitled to protection under the law” (i.e., is

27 “sealable”). Civ. L.R. 79-5(b). The sealing request must also “be narrowly tailored to seek sealing

28 only of sealable material.” Id.

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 1          In the context of dispositive motions, materials may be sealed in the Ninth Circuit upon a

 2 showing that there are “compelling reasons” to seal the information. See Kamakana v. City & Cty.

 3 of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006). However, a party seeking to seal information

 4 in a non-dispositive motion must show only “good cause.” Id. at 1179-80. The rationale for the

 5 lower standard with respect to non-dispositive motions is that “the public has less of a need for

 6 access to court records attached only to non-dispositive motions because these documents are often

 7 unrelated, or only tangentially related, to the underlying cause of action” and that as a result “[t]he

 8 public policies that support the right of access to dispositive motions, and related materials, do not

 9 apply with equal force to non-dispositive materials.” Kamakana, 447 F.3d at 1179; see also TVIIM,

10 LLC v. McAfee, Inc., 2015 WL 5116721, at *1 (N.D. Cal. Aug. 28, 2015) (“Records attached to non-

11 dispositive motions are not subject to the strong presumption of access.”) (citation omitted). Under

12 the “good cause” standard, courts will seal statements reporting on a company’s users, sales,

13 investments, or other information that is ordinarily kept secret for competitive purposes. See

14 Hanginout, Inc. v. Google, Inc., 2014 WL 1234499, at *1 (S.D. Cal. Mar. 24, 2014); Nitride

15 Semiconductors Co. v. RayVio Corp., 2018 WL 10701873, at *1 (N.D. Cal. Aug. 1, 2018) (granting

16 motion to seal “[c]onfidential and proprietary information regarding [Defendant]’s products” under

17 “good cause” standard) (van Keulen, J.). Although the materials that Google seeks to seal here

18 easily meet the higher “compelling reasons” standard, the Court need only consider whether these

19 materials meet the lower “good cause” standard.

20 III.     THE ABOVE IDENTIFIED MATERIALS SHOULD ALL BE SEALED

21          Courts have repeatedly found it appropriate to seal documents that contain “business
22 information that might harm a litigant’s competitive standing.” Nixon v. Warner Commc'ns, Inc.,

23 435 U.S. 589, 589-99 (1978). Good cause to seal is shown when a party seeks to seal materials that

24 “contain[] confidential information about the operation of [the party’s] products and that public

25 disclosure could harm [the party] by disclosing confidential technical information.” Digital Reg of

26 Texas, LLC v. Adobe Sys., Inc., 2014 WL 6986068, at *1 (N.D. Cal. Dec. 10, 2014). Materials that

27 could harm a litigant’s competitive standing may be sealed even under the “compelling reasons”

28 standard. See e.g., Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., 2015 WL 984121, at
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 1 *2 (N.D. Cal. Mar. 4, 2015) (information “is appropriately sealable under the ‘compelling reasons’

 2 standard where that information could be used to the company’s competitive disadvantage”)

 3 (citation omitted). Courts in this district have also determined that motions to seal may be granted

 4 as to potential trade secrets. See, e.g. United Tactical Sys., LLC v. Real Action Paintball, Inc.,2015

 5 WL 295584, at *3 (N.D. Cal. Jan. 21, 2015) (rejecting argument against sealing “that [the party]

 6 ha[s] not shown that the substance of the information . . . amounts to a trade secret”).

 7          Here, Google’s Objections comprises confidential and proprietary information regarding

 8 highly sensitive features of Google’s internal systems and operations that Google does not share

 9 publicly. Specifically, this information provides details related to the various types of data sources

10 which include information related to various types of internal databases and their proprietary

11 functionalities, data size, as well as internal metrics. Such information reveals Google’s internal

12 strategies, system designs, and business practices for operating and maintaining many of its

13 important services while complying with its legal and privacy obligations.

14          Public disclosure of the above-listed information would harm Google’s competitive standing

15 it has earned through years of innovation and careful deliberation, by revealing sensitive aspects of

16 Google’s proprietary systems, strategies, and designs to Google’s competitors. That alone is a proper

17 basis to seal such information. See, e.g., Free Range Content, Inc. v. Google Inc., No. 14-cv-02329-

18 BLF, Dkt. No. 192, at 3-9 (N.D. Cal. May 3, 2017) (granting Google’s motion to seal certain

19 sensitive business information related to Google’s processes and policies to ensure the integrity and

20 security of a different advertising system); Huawei Techs., Co. v. Samsung Elecs. Co., No. 3:16-cv-

21 02787-WHO, Dkt. No. 446, at 19 (N.D. Cal. Jan. 30, 2019) (sealing confidential sales data because

22 “disclosure would harm their competitive standing by giving competitors insight they do not have”);

23 Trotsky v. Travelers Indem. Co., 2013 WL 12116153, at *8 (W.D. Wash. May 8, 2013) (granting

24 motion to seal as to “internal research results that disclose statistical coding that is not publically

25 available”).

26          Moreover, if publicly disclosed, malicious actors may use such information to seek to

27 compromise Google’s data sources, including data logs, internal data structures, and internal

28 identifier systems. Google would be placed at an increased risk of cyber security threats. See, e.g.,
                                                    3                     Case No. 4:20-cv-5146-YGR-SVK
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 1 In re Google Inc. Gmail Litig., 2013 WL 5366963, at *3 (N.D. Cal. Sept. 25, 2013) (sealing

 2 “material concern[ing] how users’ interactions with the Gmail system affects how messages are

 3 transmitted” because if made public, it “could lead to a breach in the security of the Gmail system”).

 4 The security threat is an additional reason for this Court to seal the identified information.

 5          The information Google seeks to redact, including various types of Google’s internal

 6 databases and their proprietary functionalities, data size, as well as internal metrics, is the minimal

 7 amount of information needed to protect its internal systems and operations from being exposed to

 8 not only its competitors but also to nefarious actors who may improperly seek access to and disrupt

 9 these systems and operations. The “good cause” rather than the “compelling reasons” standard

10 should apply but under either standard, Google’s sealing request is warranted.

11   IV.    CONCLUSION

12          For the foregoing reasons, the Court should seal the identified portions of Google’s
13 Objections.

14

15 DATED: June 8, 2022                           QUINN EMANUEL URQUHART &
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